Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 1 of 66 Page ID
                                    #:6
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 2 of 66 Page ID
                                    #:7
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 3 of 66 Page ID
                                    #:8
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 4 of 66 Page ID
                                    #:9
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 5 of 66 Page ID
                                   #:10
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 6 of 66 Page ID
                                   #:11
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 7 of 66 Page ID
                                   #:12
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 8 of 66 Page ID
                                   #:13
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 9 of 66 Page ID
                                   #:14
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 10 of 66 Page
                                  ID #:15
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 11 of 66 Page
                                  ID #:16
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 12 of 66 Page
                                  ID #:17
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 13 of 66 Page
                                  ID #:18
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 14 of 66 Page
                                  ID #:19
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 15 of 66 Page
                                  ID #:20
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 16 of 66 Page
                                  ID #:21
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 17 of 66 Page
                                  ID #:22
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 18 of 66 Page
                                  ID #:23
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 19 of 66 Page
                                  ID #:24
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 20 of 66 Page
                                  ID #:25
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 21 of 66 Page
                                  ID #:26
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 22 of 66 Page
                                  ID #:27
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 23 of 66 Page
                                  ID #:28
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 24 of 66 Page
                                  ID #:29
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 25 of 66 Page
                                  ID #:30
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 26 of 66 Page
                                  ID #:31
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 27 of 66 Page
                                  ID #:32
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 28 of 66 Page
                                  ID #:33
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 29 of 66 Page
                                  ID #:34
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 30 of 66 Page
                                  ID #:35
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 31 of 66 Page
                                  ID #:36
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 32 of 66 Page
                                  ID #:37
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 33 of 66 Page
                                  ID #:38
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 34 of 66 Page
                                  ID #:39
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 35 of 66 Page
                                  ID #:40
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 36 of 66 Page
                                  ID #:41
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 37 of 66 Page
                                  ID #:42
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 38 of 66 Page
                                  ID #:43
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 39 of 66 Page
                                  ID #:44
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 40 of 66 Page
                                  ID #:45
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 41 of 66 Page
                                  ID #:46
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 42 of 66 Page
                                  ID #:47
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 43 of 66 Page
                                  ID #:48
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 44 of 66 Page
                                  ID #:49
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 45 of 66 Page
                                  ID #:50
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 46 of 66 Page
                                  ID #:51
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 47 of 66 Page
                                  ID #:52
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 48 of 66 Page
                                  ID #:53
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 49 of 66 Page
                                  ID #:54
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 50 of 66 Page
                                  ID #:55
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 51 of 66 Page
                                  ID #:56
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 52 of 66 Page
                                  ID #:57
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 53 of 66 Page
                                  ID #:58
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 54 of 66 Page
                                  ID #:59
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 55 of 66 Page
                                  ID #:60
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 56 of 66 Page
                                  ID #:61
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 57 of 66 Page
                                  ID #:62
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 58 of 66 Page
                                  ID #:63
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 59 of 66 Page
                                  ID #:64
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 60 of 66 Page
                                  ID #:65
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 61 of 66 Page
                                  ID #:66
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 62 of 66 Page
                                  ID #:67
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 63 of 66 Page
                                  ID #:68
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 64 of 66 Page
                                  ID #:69
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 65 of 66 Page
                                  ID #:70
Case 2:08-cv-06692-ODW-FFM   Document 1-2   Filed 10/10/08   Page 66 of 66 Page
                                  ID #:71
